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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

(Subchapter V)
JLM COUTURE, INC.,
Case No. 23-11659 (JKS)

Debtor.
Related D.I, 100

ORDER

This matter coming before the Court on the Motion by Landlord for an Order:
(a) Directing Immediate Payment of Post-Petition Stipulated Damages Pursuant to 11 U.S.C.
§ 365(A)(3), (b) Allowing and Directing Immediate Payment of Stub Period Stipulated Damages
Pursuant to § 503(b), and (c) Granting Relief from the Automatic Stay to Continue the Landlord-
Tenant Action (D.J. 100) (the “Motion”); and the Court having jurisdiction over this matter
pursuant to 28 U.S.C. §§ 157 and 1334 and this being a core proceeding under 28 U.S.C.
§§ 157(b)(2); and due and proper notice of the Motion having been provided; and the Court
having considered the Motion, Response and Reply;! and a hearing have been held on February
28, 2024 to consider the relief requested in the Motion (the “Hearing’’); and the Court having
considered supplemental letter briefs; and upon the record of the Hearing and all of the
proceedings had before the Court; and after due deliberation and sufficient cause appearing
therefor, IF IS HEREBY ORDERED THAT:

1. The Motion is granted, in part, and denied in part.

' Capitalized terms not defined herein shall have the meaning ascribed to them in the Opinion.

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2. The Landlord is entitled to an administrative expense claim for its Landlord

Claims in the following amounts:
a. Stub Rent in the amount of $24,518.23;
b. Post-Petition Rent in the amount of $76,006.50; and
c. February 2024 Rent in the amount of $25,335.50.

3. The Landlord shall be awarded Attorney’s Fees upon agreement or a subsequent

Order of the Court.

4, The Debtor shall pay the Landlord Claim within fifteen (15) days of the date

hereof.

5, This Court shall retain jurisdiction to hear and determine all matters arising from

or related to this Order.

Dated: May 9, 2024

IR Ate Btiékles
United States Bankruptcy Judge
